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Fill In this Information to Identify your case


Debtor 1                                                               L-r^o€»
Debtor 2
(Spouse, if filing) First Name


United States Bankruptcy Court for ttie: taft&tgrt/District    of                ^^
Case number                                                                                                                          • Check if this Is an
(If known)                                                                                                                             amended filing



  Official Form 108
  Statement of Intention for individuals Filing Under Chapter 7                                                                                     12/15
  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever Is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together In a joint case, both are equally responsible for supplying correct Information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

                     List Your Creditors Who Have Secured Ciaims

    1. For any creditors that you listed In Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill In the
       information below.

           Identify the creditor and the property that Is collateral           What do you intend to do with the property that    Did you claim the property
                                                                               secures a debt?                                    as exempt on Schedule C?

          Creditor's                                                          • Surrender the property.                           • No
          name:
                                                                              • Retain the property and redeem it.                • Yes
          Description of
                                                                              • Retain the property and enter Into a
          property
          securing debt:                                                        Reaffirmation Agreement.
                                                                              • Retain the property and [explain]:




          Creditor's                                                          • Surrender the property.                           • No
          name:
                                                                              • Retain the property and redeem it.                • Yes
          Description of
                                                                              • Retain the property and enter Into a
          property
                                                                                Reaffirmation Agreement.
          securing debt:
                                                                              • Retain the property and [explain]:



          Creditor's                                                          • Surrender the property.                           • No
          name:
                                                                              • Retain the property and redeem It.                • Yes
          Description of
                                                                              • Retain the property and enter into a
          property
          securing debt:                                                        Reaffirmation Agreement.
                                                                              • Retain the property and [explain]:


          Creditor's                                                          • Surrender the property.                           • No
          name:
                                                                              • Retain the property and redeem It.                • Yes
          Description of
          property
                                                 FEB - 6 2017                 • Retain the property and e nter into a
                                                                                Reaffirmation Agreement.
          securing debt:
                                                                              • Retain the property and [explain]:




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                b r t c.                     Loo &                                        Case number (iiknow n)_




                List Your Unexpired Personai Property Leases

  For any unexpired personal property lease that you listed In Schedule G; Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease If the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                              Will the lease be assumed?

     Lessor's name:                                                                                                 •

                                                                                                                    • Yes
     Description of leased
     properly:


     Lessor's name:                                                                                                 • NQ

                                                                                                                    Q Yes
     Description of leased
     property:


     Lessor's name:                                                                                                 • NQ

      Description of leased                                                                                         • Yes
      property:


      Lessor's name:                                                                                                • (MQ

                                                                                                                    • Yes
      Description of leased
      property:


      Lessor's name:                                                                                                • NQ

                                                                                                                    • Yes
      Description of leased
      property:


      Lessor's name:                                                                                                • NQ

                                                                                                                    • Yes
      Description of leased
      property:


      Lessor's name:                                                                                                • No

                                                                                                                    • Yes
      Description of leased
      property.




                Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.




      Signature of Debtor 1           f I                       Signature of Debtor 2

      Date   II 3n 7.0/7                                        Date _
             MM / DD   /   YYYY                                      MM / DD /    YYYY




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